                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                     Case No. 15-CR-117

MARK HAYNIE,

       Defendant.


       ORDER ON DEFENDANT’S MOTION TO REOPEN DETENTION ORDER


          Mark Haynie is charged in six counts of a sixty-six count indictment charging him and

twenty-one co-defendants with heroin trafficking. Specifically, Haynie is charged with conspiracy

to possess with intent to distribute and to distribute 100 grams or more of heroin in violation of 21

U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B), and 18 U.S.C. § 2 (Count One); and attempt to distribute and

possess with intent to distribute heroin on five occasions in violation of 21 U.S.C. §§ 846, 841(a)(1),

841 (b)(1)(C), and 18 U.S.C. § 2(Counts Two, Twelve, Fifteen, Seventeen, and Twenty). (Docket

# 115.) Haynie has pled not guilty and jury trial before the Honorable Judge Pepper is scheduled for

February 6, 2017.

       Haynie initially appeared before me for a detention hearing back on May 15, 2015. On that

date, I indicated because Haynie had a federal hold on him from the Northern District of Illinois for

alleged violation of his supervised release order, I would detain Haynie and review the matter if his

status changed. (Docket # 60.) Haynie has now filed a motion to reopen the detention hearing.

Haynie submits that if bond is granted in this case, the court in the Northern District of Illinois will

consider bond in his revocation matter. (Docket # 468.) The government has responded that




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regardless of what the court in the Northern District of Illinois chooses to do in its case, there are no

combination of conditions that will assure the safety of the community from Haynie. Additionally,

the government argues that Haynie is a flight risk. (Docket # 474.)

       A defendant who has been detained can seek to reopen the detention hearing under 18 U.S.C.

§ 3142(f)(2), which provides as follows:

       The hearing may be reopened, before or after a determination by the judicial officer,
       at any time before trial if the judicial officer finds that information exists that was not
       known to the movant at the time of the hearing and that has a material bearing on the
       issue whether there are conditions of release that will reasonably assure the
       appearance of the person as required and the safety of any other person and the
       community.

       In this case, after reviewing the bond study report and analyzing the factors that I must

consider under 18 U.S.C. § 3142(g), I respectfully decline to release Haynie on conditions for several

reasons. First, Haynie is charged with a presumptive detention offense. Second, even if Haynie were

to rebut the presumption, his prior criminal record indicates a risk of danger to the community if

released. He has a federal conviction from the Northern District of Illinois for conspiracy to possess

firearms, conspiracy to possess firearms in relation to a drug trafficking crime, and conspiracy to

distribute cocaine; an Illinois conviction for murder; and an Illinois conviction for possession of

marijuana. Finally, Haynie is alleged to have committed the charged offense while under supervised

release in the Northern District of Illinois. That in itself undermines confidence that Haynie would

comply with release conditions. While I appreciate that Haynie has been in custody since his arrest

back on May 11, 2015, these facts support, by clear and convincing evidence, that there are no

combination of conditions that will reasonably assure the safety of the community from Haynie.

       IT IS SO ORDERED.




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  Dated at Milwaukee, Wisconsin this 3rd day of November, 2016.

                                          BY THE COURT

                                          s/Nancy Joseph
                                          NANCY JOSEPH
                                          United States Magistrate Judge




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